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PROB 12A
(7/93)                                                                                 FILED
                                                                                  January 18, 2023
                         UNITED STATES DISTRICT COURT                           CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
                                        for
                              Western District of Texas                                       AD
                                                                             BY: ________________________________
                                                                                                     DEPUTY

                            Report on Offender Under Supervision

Name of Offender: Christopher Lee Simpson                   Case Number: A-14-CR-368(01)-LY

Name of Sentencing Judicial Officer: Honorable Lee Yeakel, U.S. District Judge

Date of Original Sentence: August 7, 2015

Original Offense: Count 1: Possession with Intent to Distribute Methamphetamine in violation of
21 U.S.C. § 841(a)(1) and Count 2: Felon in Possession of a Firearm, in violation of 18 U.S.C. §
922(g)(1)

Original Sentence: Sentenced to seventy two (72) months custody in the Bureau of Prisons on each
count to run concurrently followed by six (6) years of supervised release with special conditions:
submit to substance abuse evaluation/drug treatment, abstain from the use of alcohol and all other
intoxicants, take all medications as directed by a medical doctor, and submit to search and seizure

Type of Supervision: Supervised Release             Date Supervision Commenced: May 20, 2020

Assistant U.S. Attorney: Matt Devlin           Defense Attorney: Kevin W. Boyd


                               PREVIOUS COURT ACTION

On December 3, 2020, a Probation Form 12A, Report on Offender Under Supervision, was
submitted to the Court reporting the defendant was arrested for a Misdemeanor Assault. The
defendant advised he would be contesting the charges. It was respectfully, recommended that no
action be taken to allow the state court to dispose of the case. The Court concurred.

                               NONCOMPLIANCE SUMMARY

Violation of Mandatory Condition No. 2: “The defendant shall not unlawfully possess a
controlled substance.”

Nature of Non-compliance: On November 22, 2022, the defendant submitted a random urine
sample that tested positive for amphetamines, marijuana, and opiates.
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U.S. Probation Officer Action: On November 30, 2022, USPO was notified of defendant’s
positive use of illegal drug use. The defendant was questioned about his illegal drug usage, and he
admitted to using illegal substances on or about November 15, 2022. The defendant explained he
was having a difficult time at home with his girlfirend and was feeling overwhelmed. On December
16, 2022, the defendant checked himself into Recovery Unplugged, an inpatient facility in Austin,
Texas, to address his substance abuse issues. The defendant was admonished for his actions and
advised that his behavior was unacceptable. It is respectfully recommended that no action be taken
at this time to allow the defendant to continue with substance abuse treatment to address the use
of illegal drugs.

Accordingly, the Court reserves the right to revisit these allegations in the future. In addition,
should Simpson incur any further violations, the Court will be immediately notified.




Approved:                                            Respectfully submitted,


__________________________                           _________________________
Craig Handy                                          Lauro Garza
Supervising U. S. Probation Officer                  United States Probation Officer
Date: January 12, 2023                               Date: January 12, 2023



THE COURT ORDERS:

[X] No Action

[ ] Submit a Request for Modifying the Conditions or Term of Supervision

[ ] Submit a Request for Warrant or Summons

[ ] Other

                                                     __________________________
                                                     Honorable Mark Lane
                                                     United States Magistrate Judge

                                                             01/18/2023
                                                     Date: _______________
